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                                                   Category Report - All Dates
                                                       8/21/2008 through 8/19/2015
8/19/2015                                                                                                                Page 1
                 Date             Num          Description            Memo               Category     Clr   Amount


            6/20/2014         I 2870    H & A QUALITY SERVICE, L...DEPOSIT HUNTINGTON BANK (JS & P)   R      10,000.00
            8/13/2015         I WIRE    HUNTINGTON BANK/JS & P RETURN D... HUNTINGTON BANK (JS & P)         -10,000.00
            8/21/2008 - 8/19/2015                                                                                 0.00

                                                                                     TOTAL INFLOWS           10,000.00

                                                                                     TOTAL OUTFLOWS         -10,000.00

                                                                                     NET TOTAL                    0.00
